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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Bend Arch Petroleum Inc.

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           7      4      –      3      1        2    8         9   1     1

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       101 W. Lee Avenue
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Graford                             TX       76449
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Palo Pinto                                                      from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




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Debtor Bend Arch Petroleum Inc.                                                          Case number (if known)

7.   Describe debtor's business        A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                         Chapter 7
                                            Chapter 9
     A debtor who is a "small               Chapter 11. Check all that apply:
     business debtor" must check                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     the first sub-box. A debtor as                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                        affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                              OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                              sheet, statement of operations, cash-flow statement, and federal income tax
                                                              return, or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                              Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                              form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.

                                            Chapter 12




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Debtor Bend Arch Petroleum Inc.                                                           Case number (if known)

9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes. District                                        When                    Case number
     years?                                                                                             MM / DD / YYYY
                                                 District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                        MM / DD / YYYY
     separate list.
                                                 District                                        When                    Case number
                                                                                                        MM / DD / YYYY

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                   District                                                    When
     List all cases. If more than 1,                                                                                          MM / DD / YYYY
     attach a separate list.                       Case number, if known


                                                   Debtor                                                      Relationship

                                                   District                                                    When
                                                                                                                              MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.

                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.




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Debtor Bend Arch Petroleum Inc.                                                    Case number (if known)

12. Does the debtor own or             No
    have possession of any             Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal               needed.
    property that needs
                                            Why does the property need immediate attention?               (Check all that apply.)
    immediate attention?
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                 safety.
                                                 What is the hazard?

                                                 It needs to be physically secured or protected from the weather.

                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                 attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                 related assets or other options).

                                                 Other


                                            Where is the property?
                                                                         Number      Street




                                                                         City                                       State      ZIP Code

                                            Is the property insured?

                                                 No
                                                 Yes. Insurance agency

                                                         Contact name

                                                         Phone


              Statistical and adminstrative information
13. Debtor's estimation of        Check one:
    available funds                   Funds will be available for distribution to unsecured creditors.
                                      After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                      creditors.

14. Estimated number of                1-49                              1,000-5,000                         25,001-50,000
    creditors                          50-99                             5,001-10,000                        50,001-100,000
                                       100-199                           10,001-25,000                       More than 100,000
                                       200-999

15. Estimated assets                   $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                       $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                       $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                       $500,001-$1 million               $100,000,001-$500 million           More than $50 billion

16. Estimated liabilities              $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                       $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                       $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                       $500,001-$1 million               $100,000,001-$500 million           More than $50 billion




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Debtor Bend Arch Petroleum Inc.                                                          Case number (if known)

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 02/05/2024
                                                      MM / DD / YYYY



                                          X /s/ Johnnie Lee Bitters
                                              Signature of authorized representative of debtor
                                              Johnnie Lee Bitters
                                              Printed name
                                              President
                                              Title

18. Signature of attorney                X /s/ Joyce W. Lindauer                                                  Date   02/05/2024
                                            Signature of attorney for debtor                                             MM / DD / YYYY

                                            Joyce W. Lindauer
                                            Printed name
                                            Joyce Lindauer
                                            Firm name
                                            Joyce W. Lindauer Attorney, PLLC
                                            Number          Street
                                            1412 Main Street, Suite 500

                                            Dallas                                                     TX                 75202
                                            City                                                       State              ZIP Code


                                            (972) 503-4033                                             joyce@joycelindauer.com
                                            Contact phone                                              Email address
                                            21555700                                                   TX
                                            Bar number                                                 State




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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                            FORT WORTH DIVISION
  IN RE:   Bend Arch Petroleum Inc.                                                 CASE NO

                                                                                   CHAPTER    11

                                      VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 2/5/2024                                           Signature   /s/ Johnnie Lee Bitters
                                                                    Johnnie Lee Bitters
                                                                    President




Date                                                    Signature
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                         Attorney General of Texas
                         Bankruptcy Div
                         PO Box 12548
                         Austin, TX 78711-2548


                         AWF Logistics, LLC
                         213 W. Haynie Avenue
                         Calera, OK 74730



                         Borderline Operating Corp.
                         PO Box 360
                         Graham, TX 76450



                         BPS Supply Group
                         PO Box 60006
                         Los Angeles, CA 90060-0006



                         Bridgeport Fishing and Rental Tools Inc.
                         218 Lake Rd.
                         Bridgeport, TX 76426



                         Comptroller of Public Accts
                         Revenue Acctg Div Bankruptcy Sec
                         PO Box 13528
                         Austin, TX 78711


                         Core Chemical Services, LLC
                         1326 Normandy Dr.
                         Graham, TX 76450



                         Cross Plains Oil Field Service
                         PO Box 850
                         Mineral Wells, TX 76068



                         Desperado Transport, LLC
                         7417 E. County Rd. 93
                         Midland, TX 79706
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                         Enlink Gas Marketing, LP
                         1722 Routh St., Suite 1300
                         Dallas, TX 75201



                         Epic Lift Systems
                         14485 US Highway 377 South
                         Fort Worth, TX 76126



                         First State Bank Graham
                         1526 Fourth St.
                         Graham, TX 76450



                         Global Compression Services
                         15 Smith Rd., Suite 4000
                         Midland, TX 79705



                         GW Wireline Inc.
                         PO Box 725
                         Mineral Wells, TX 76068



                         Internal Revenue Service
                         Mail Code DAL-5020
                         1100 Commerce Street
                         Dallas, Texas 75242


                         Internal Revenue Service
                         Centralized Insolvency Operations
                         PO Box 7346
                         Philadelphia, PA 19101-7346


                         J-W Power Company
                         16479 N. Dallas Parkway
                         Suite 850, LB-8
                         Addison, TX 75001


                         Jack County Tax Office
                         100 N. Main St., Suite 209
                         Jacksboro, TX 76458
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                         Jeff Bilby's Engine & Compressor LLC
                         215 Lake Rd.
                         Bridgeport, TX 76426



                         Jimmie Kyle Travis
                         1690 Advance Rd.
                         Weatherford, TX 76088



                         L Chem Tech Co Inc.
                         254 W. Industrial Blvd.
                         Graham, TX 76450



                         Natural Gas Services Group, Inc.
                         508 W. Wall St., Su ite 550
                         Midland, TX 79701



                         Nine Energy Service
                         13119 Hwy 199 West
                         Poolville, TX 76487



                         Palo Pinto County Tax Office
                         PO Box 160
                         Palo Pinto, TX 76484-0160



                         Parker County Appraisal District
                         1100 Santa Fe Drive
                         Weatherford, TX 76086-5818



                         Reliant
                         PO Box 1532
                         Houston, TX 77251-1532



                         Renegade Investments, et al
                         PO Box 7180
                         Granbury, TX 76049
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                         Rowe Electric
                         412 Pennsylvania Ave.
                         Graham, TX 76450



                         Scout Equipment Sales & Service
                         PO Box 130
                         Millsap, TX 76066



                         Silver A. Wolf Testers L.L.C.
                         17441 US 281
                         Windthorst, TX 76389



                         Superior Optimization Ltd.
                         2100 N. Main St., Unit 100
                         Fort Worth, TX 76164



                         Tomsha LLC
                         2173 FM 1191 South
                         Bryson, TX 76427



                         Tri-County Electric Co-Op
                         200 Bailey Ranch Road
                         Aledo, TX 76008



                         Tubing Testers, Inc.
                         PO Box 655
                         Archer City, TX 76351



                         U. S. Trustee's Office
                         1100 Commerce Street
                         Room 976
                         Dallas, TX 75242


                         US Attny. General
                         10th and Constitution Ave.,NW
                         Main Justice Bldg. Rm. 5111
                         Washington, DC 20530
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                         Vicki Palmour Consulting, LLC
                         PO Box 1925
                         Graham, TX 76450



                         Waggoner Supply Inc.
                         333 Cliff Drive
                         Graham, TX 76450



                         Western Marketing, Inc.
                         816 S. Blue Mound Rd.
                         Fort Worth, TX 76131



                         White's Magneto Supply
                         1413 Wise St.
                         Bowie, TX 76230



                         Wise County Appraisal District
                         400 E. Business 380
                         Decatur, TX 76234-3165
